      Case 22-16159-CMG            Doc 177-1 Filed 01/03/23 Entered 01/03/23 16:02:33                      Desc
                                     Notice of Order Entry Page 1 of 1
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 22−16159−CMG
                                         Chapter: 11
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Assuncao Bros., Inc.
   29 Wood Avenue
   Edison, NJ 08820
Social Security No.:

Employer's Tax I.D. No.:
  22−1643306




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on January 3, 2023, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 177 − 159
Order Granting Application For Compensation for KCP Advisory Group, LLC, fees awarded: $124198.00, expenses
awarded: $803.15 (Related Doc # 159). Service of notice of the entry of this order pursuant to Rule 9022 was made
on the appropriate parties. See BNC Certificate of Notice. Signed on 1/3/2023. (dmi)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: January 3, 2023
JAN: dmi

                                                                     Jeanne Naughton
                                                                     Clerk
